Case 5:07-cr-50042-TLB Document 38           Filed 09/18/20 Page 1 of 10 PageID #: 310




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


UNITED STATES                                                                PLAINTIFF

v.                               CASE NO. 5:07-CR-50042

DANIEL WARREN DOWDY                                                        DEFENDANT


                         MEMORANDUM OPINION AND ORDER

         After pleading guilty to one count of knowingly receiving child pornography in

violation of 18 U.S.C. § 2252(a)(2) and (b)(1), Daniel Warren Dowdy was sentenced to

97 months’ imprisonment and ten years of supervised release.           Dowdy’s term of

supervised release included six special conditions. He has now filed a Petition for

Modification of Conditions of Supervised Release (Doc. 35) pursuant to 18 U.S.C. §

3583(e)(2). He also asks the Court to seal his Petition and his entire record. The

Government filed a Response (Doc. 36) and Dowdy replied (Doc. 37). The matter is now

ripe for disposition, and for the reasons stated below, the Court GRANTS Dowdy’s

requested modifications to his special conditions of supervised release but DENIES his

request to seal the Petition and his record. To the extent Dowdy requests complete

termination of his terms of supervised release, that request is DENIED.

                                   I. BACKGROUND

         On June 20, 2007, Dowdy pleaded guilty to one count of knowingly receiving child

pornography in violation of 18 U.S.C. § 2252(a)(2) and (b)(1). This Court 1 sentenced




1    The Hon. Jimm L. Hendren, presiding.



                                             1
Case 5:07-cr-50042-TLB Document 38            Filed 09/18/20 Page 2 of 10 PageID #: 311




Dowdy and imposed a ten-year term of supervised release to follow Dowdy’s

imprisonment. As is relevant here, Dowdy’s third and fifth special conditions of release

read as follows:

       •      “The defendant shall have no unsupervised contact with minors,
              except his own minor children . . . .”

       •      “The defendant shall not access the internet from any location
              without prior approval by the U.S. Probation Office and for a justified
              reason. The defendant shall not have internet access at his
              residence.

(Doc. 11, p. 4). In 2016, Dowdy moved for a modification of the fifth special condition of

release, arguing that the blanket restriction on his internet usage inhibited his ability to

reenter society. (Doc. 28). The Court granted in part and denied in part Dowdy’s motion

for modification and ultimately altered the fifth special condition of release to include the

following sub-conditions:

        •      “The defendant shall be allowed to have internet access at his
               home.”

        •      “The defendant shall be limited to owning one internet-capable
               device, and that device shall not be an internet-capable phone.”

        •      “The defendant shall identify to the probation officer any previously
               owned internet-capable devices that he still possesses.”

        •      “Any devices owned by other members of the defendant’s
               household shall be identified to the probation officer and shall be
               password protected. The defendant shall not have knowledge of the
               passwords, and shall not use those devices.”

        •      “The defendant shall consent to the U.S. Probation Officer
               conducting periodic unannounced examinations, without individual
               showing of reasonable suspicion, on any internet-capable device he
               is authorized to use. The examination may include assistance of
               other law enforcement agencies. This may include retrieval and
               copying of all data from the internet-capable device and any internal
               or external peripherals to ensure compliance with conditions and/or
               removal of such equipment for the purposes of conducting a more


                                             2
Case 5:07-cr-50042-TLB Document 38            Filed 09/18/20 Page 3 of 10 PageID #: 312




               thorough inspection, and allow at the discretion of the probation
               officer, installation on the defendant’s internet-capable device, at
               the defendant’s expense, any hardware or software systems to
               monitor the defendant’s internet-capable device use. The defendant
               shall use an internet-capable device compatible with available
               monitoring systems. The defendant shall have no expectation of
               privacy regarding the use of an internet-capable device or
               information stored on the internet-capable device. The defendant
               shall warn any other significant third parties that the internet-capable
               device may be subject to monitoring. Any attempt to circumvent
               monitoring and examination may be grounds for revocation.”

        •      “The defendant’s internet-capable device shall not contain any
               software or hardware that would allow him to circumvent monitoring
               or ‘wipe’ the device’s hard drive.”

(Doc. 32, pp. 1–2).

       Now, pursuant to 18 U.S.C. § 3583(e)(2), Dowdy asks that his fifth special

condition be further modified so that he may possess a laptop provided by his employer

and that the laptop be exempted from the digital monitoring requirement. He also asks

that he be allowed to own a smartphone. Additionally, Dowdy asks that his third special

condition of release be modified so that he may have contact with his grandchildren.

Finally, Dowdy asks the Court to seal his present Petition and his “record.” Each of these

requests is taken up in turn below.

                                 II. LEGAL STANDARD

       District courts have the discretion to impose conditions of supervised release that

“(1) [are] reasonably related to the sentencing factors set forth in 18 U.S.C. § 3553(a); (2)

involve[ ] no greater deprivation of liberty than is reasonably necessary for the purposes

set forth in § 3553(a); and (3) [are] consistent with any pertinent policy statements issued

by the Sentencing Commission.” United States v. Kelly, 625 F.3d 516, 519 (8th Cir. 2010)

(internal quotation marks omitted); see also 18 U.S.C. § 3583(d). A district court is also




                                              3
Case 5:07-cr-50042-TLB Document 38           Filed 09/18/20 Page 4 of 10 PageID #: 313




empowered to modify, reduce, or enlarge those conditions of supervised release “at any

time prior to the expiration of the period of supervised release.” United States v. Yankton,

168 F.3d 1096, 1098 n.6 (8th Cir. 1999); see also 18 U.S.C. § 3583(e)(2). “[W]hen

considering whether to ‘modify, reduce, or enlarge the conditions of supervision,’ a court

is limited to considering the sentencing factors enumerated in § 3553(a), any applicable

Federal Rules of Criminal Procedure, and applicable provisions for setting the initial

conditions of supervised release.” United States v. Shipley, 825 F. Supp. 2d 984, 988

(S.D. Iowa 2011) (internal quotation marks omitted).

                                    III. DISCUSSION

          A. Modifications to Dowdy’s Fifth Special Condition of Release

       Dowdy seeks access to a laptop and a smartphone because he believes he will

need access to those devices in order to accept a promotion from his employer. Dowdy

asserts that he is in line for a promotion to become a “Field Leader” over seven

restaurants in Northwest Arkansas, and he presents a letter from the current Field Leader,

Chris Garrett, who states that the position requires “extensive use of a laptop computer,”

as well as a smartphone, due to the amount of travel inherent in the position. (Doc. 35,

p. 16). Dowdy is concerned that his employer will not accept digital monitoring of an

employer-provided laptop due to the presence of “proprietary trade secrets and company

information” on the laptop. Id. at p. 6. To assuage the Court’s probable concerns, Dowdy

asserts that digital monitoring by his supervising probation officer of his employer-

provided laptop will be unnecessary because “[a]ll internet usage [on the laptop] goes

through the company’s intranet and is filtered by them on a VPN . . . .” Id. He points out




                                             4
Case 5:07-cr-50042-TLB Document 38            Filed 09/18/20 Page 5 of 10 PageID #: 314




that his employer’s IT department will monitor his use of the laptop, so any illicit activity

would result in his termination. Id.

       The Government objects to Dowdy’s requested modifications, pointing out that the

letter from Mr. Garrett lacks “indicia of reliability” and that Dowdy is not guaranteed to

receive a promotion. (Doc. 36). In reply, Dowdy presents an updated letter from Mr.

Garrett in which he states that his current goal is to leave his position by August 1, 2020,

with the implication that Dowdy is to take his place. This letter is signed by Mr. Garrett

and is on company letterhead. (Doc. 37, p. 4).

       The Court finds that Dowdy’s offense conduct and behavior while on supervision

support a relaxation of the restrictions related to his usage of internet-capable devices.

While the Eighth Circuit has upheld severe restrictions on internet-capable devices where

an offender’s crime was greater than mere possession of child pornography, see United

States v. Fields, 324 F.3d 1025, 1027 (8th Cir. 2003), it has also narrowed restrictions

where “the record is devoid of evidence that [a defendant] has ever used his computer

for anything beyond simply possessing child pornography.” United States v. Crume, 422

F.3d 728, 733 (8th Cir. 2005); see United States v. Wiedower, 634 F.3d 490, 495 (8th Cir.

2011) (“[T]he record shows that Wiedower used his computer to receive and access child

pornography, which under Crume is insufficient to sustain a broad computer and internet

ban.”). Dowdy’s offense conduct included the possession of approximately 38 videos and

24 images of child pornography. (Doc. 29, p. 5). His offense did not involve any

production or distribution of child pornography, nor did it involve any actual or attempted

sexual contact with minors. Though possession of child pornography is a serious offense

that victimizes children, Dowdy’s conduct was not a hands-on offense, and his behavior




                                             5
Case 5:07-cr-50042-TLB Document 38            Filed 09/18/20 Page 6 of 10 PageID #: 315




while on supervision is consistent with a desire to avoid recidivism and become a

contributing member of society. Indeed, the Court applauds Dowdy’s efforts to achieve

greater responsibility and success in his career.

       For these reasons, and after considering “the factors set forth in section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7)” the Court is

persuaded that Dowdy’s fifth special condition of supervision should be modified to allow

him access to an employer-owned smartphone and an employer-owned laptop. 18

U.S.C. § 3583(e). To be clear, however, the Court is only modifying the fifth special

condition of release to the extent necessary to allow Dowdy to accept a promotion as a

Field Leader with his employer. Thus, the Court will ease Dowdy’s internet restrictions if

he agrees to the following conditions:

       (i)     If Dowdy is offered a promotion to Field Leader that requires the use
               of an employer-provided internet-capable phone, he shall be allowed
               to use and/or possess such an employer-provided phone.

       (ii)    If Dowdy owns and possesses any internet-capable phone, it shall
               be subject to all existing monitoring conditions already imposed by
               the Court.

       (iii)   If Dowdy is offered a promotion to Field Leader that requires the use
               of an employer-provided laptop, he shall be allowed to use and/or
               possess such an employer-related laptop, and it shall be exempt
               from digital monitoring by the U.S. Probation Office.

       (iv)    Dowdy shall be required to submit to periodic polygraph testing at
               the discretion of the U.S. Probation Office as a means to ensure that
               he is in compliance with the requirements of his terms of supervised
               release.

       (v)     Dowdy’s sixth condition of supervised release, which requires him to
               submit any computers or electronic devices to which he has access
               to unannounced examination by the U.S. Probation Office at any
               time, shall remain in full effect.




                                             6
Case 5:07-cr-50042-TLB Document 38            Filed 09/18/20 Page 7 of 10 PageID #: 316




       The U.S. Probation Office shall submit a proposed modified condition of

supervision including these terms, and any others it deems appropriate, no later than 14

DAYS from the filing of this Order. To the extent that any of the above-listed terms are

not feasible to implement, the U.S. Probation Office shall notify the Court as to the

reasons why when it submits its proposed modified condition.

          B. Modifications to Dowdy’s Third Special Condition of Release

       Dowdy’s third special condition of release prevents him from having unsupervised

contact with any minors who are not his children; Dowdy requests that this condition be

modified so that he may have unrestricted contact with his grandchildren.                The

Government takes no position on this request. Dowdy’s supervising U.S. Probation

Officer has no objection to this request.

       The Court finds that it is appropriate to modify the third special condition of release

to allow Dowdy unsupervised contact with his grandchildren. The Eighth Circuit has ruled

that requiring prior approval before a convicted sex offender has contact with minors is a

reasonable means of ensuring that such contact remains appropriate. United States v.

Mickelson, 433 F.3d 1050, 1057 (8th Cir. 2006). But such restrictions may not be

“categorically impose[d] in every child pornography case,” as the Court is supposed to

look at “the relevant statutory and constitutional considerations” to determine whether a

“condition is more restrictive than what is needed to satisfy the governmental interest in

a specific case . . . .” United States v. Davis, 452 F.3d 991, 995 (8th Cir. 2006). In Davis,

the Eighth Circuit found it was plain error for a district court to impose a special condition

barring a defendant from contacting his own daughter where the defendant was convicted

of receipt of child pornography but there was no indication he had abused children. Id.




                                              7
Case 5:07-cr-50042-TLB Document 38           Filed 09/18/20 Page 8 of 10 PageID #: 317




Here, there is no evidence that Dowdy abused his children or any other minors; his

offense conduct only involved receipt and possession of child pornography. While the

receipt of child pornography is undoubtedly a serious offense, there is no governmental

interest in separating Dowdy from his grandchildren, especially since this Court originally

believed it was appropriate to allow Dowdy unsupervised contact with his own minor

children.

       Thus, the Court will alter Dowdy’s third special condition of release if he agrees to

the following modification:

       (i)    The defendant shall have no supervised contact with minors, except
              his own minor children and grandchildren, though he must provide
              notice of this special condition to, and receive written consent from,
              each parent/guardian of his grandchildren before such contact. The
              written consent form will be provided by the U.S. Probation Office.

       The U.S. Probation Office shall submit a proposed modified condition of

supervision including this term, and any others it deems appropriate, no later than 14

DAYS from the filing of this Order.

                    C. Request to Seal Petition and Entire Record

       Dowdy asks the Court to seal his present Petition as well as his “record” in order

“to limit the amount of exposure he has to non-employers or non-law enforcement.” (Doc.

35, p. 11). For its part, the Government objects to “retroactively placing Dowdy’s Motion

under seal.” (Doc. 36, p. 3). As set forth below, the Court DENIES Dowdy’s request to

seal his Petition and record.

       Generally speaking, courts recognize “a general right to inspect and copy public

records and documents, including judicial records and documents.” Nixon v. Warner

Commc’n, Inc., 435 U.S. 589, 597 (1978). The primary rationales for this right are the




                                             8
Case 5:07-cr-50042-TLB Document 38            Filed 09/18/20 Page 9 of 10 PageID #: 318




public’s confidence in, and the accountability of, the judiciary. IDT Corp. v. eBay, 709 F.3d

1220, 1224–25 (8th Cir. 2013). Whether the common-law presumption can be overcome

is determined by balancing “the interests served by the common-law right of access . . .

against the salutary interests served by maintaining confidentiality of the information

sought to be sealed.” Id. at 1223. In order to adjudicate the issue, a court must first

decide if the documents in question are “judicial records,” and if so, must next consider

whether the party seeking to prevent disclosure has overcome the common-law right of

access that would otherwise apply to such records. Id. at 1222–23. The presumption of

public access to judicial records may be overcome if the party seeking to keep the records

under seal provides compelling reasons for doing so. In re Neal, 461 F.3d 1048, 1053

(8th Cir. 2006).

       The Court interprets Dowdy’s request to seal his “record” as a request to seal this

entire case. The documents included in this case file—including the charging documents,

plea agreement, and documents related to sentencing—are clearly “judicial records” and

the presumption of public access applies to them. See United States v. Thompson, 713

F.3d 388, 393 (8th Cir. 2013) (holding that Sixth Amendment right to public access applies

both at trial and at sentencing). The only remaining question is whether Dowdy has

articulated a compelling reason to seal those judicial records, and the Court concludes

he has not. Other than the cost to his reputation, Dowdy has articulated no reason, let

alone a compelling one, to seal this entire criminal action. Indeed, Dowdy’s request

approximates a request to expunge his criminal conviction, and the Eighth Circuit has

held that district courts do not have the power to expunge records solely upon equitable

grounds. United States v. Meyer, 439 F.3d 855, 862 (8th Cir. 2006) (holding that a district




                                             9
Case 5:07-cr-50042-TLB Document 38          Filed 09/18/20 Page 10 of 10 PageID #: 319




court could not expunge defendant’s federal conviction where defendant did not allege

that the conviction was invalid or illegal). Dowdy has stated no legal challenge to his

conviction nor has he identified any statutory basis for sealing his entire criminal

conviction; thus, Dowdy’s request is, at its heart, an equitable request for expungement.

Accordingly, the Court declines to seal Dowdy’s entire case file.

      Finally, as for Dowdy’s more limited request to seal the present Petition, the

Petition has been public for several months, and it does not reveal any additional facts

that cannot already be gleaned from the existing public record. The Court therefore finds

that Dowdy has failed to articulate a compelling reason for the Petition to be sealed. The

request to seal the Petition is DENIED.

                                IV.    CONCLUSION

      For the reasons stated herein, Dowdy’s Petition for Modification (Doc. 35) is

GRANTED IN PART AND DENIED IN PART as to his third and fifth special conditions of

supervision. These special conditions of supervision, however, remain in effect until (i)

the Court receives and approves proposed modified conditions from the U.S. Probation

Office; (ii) Dowdy agrees and consents to the modified conditions; and (iii) the Court

modifies Dowdy’s conditions of supervised release shortly thereafter by formal order.

Further, Dowdy’s request to seal his Petition and record is DENIED.

      IT IS SO ORDERED on this 18th day of September, 2020.




                                                TIMOTHY L. BROOKS
                                                UNITED STATES DISTRICT JUDGE




                                           10
